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                                                                         CL~RK OF COURT
          South Pacific Petroleum Corporation
     6

     7                            IN T HE UNITED STATES DISTRICT CO URT

      8                                   FOR THE DISTRICT OF GUAM

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    JO
           SOUTH PACIFIC PETROLEUM
           CORPORATION,
                                                                CIVI L CASE NO. CV   15-0Q Q4 2
    Il                            Plaintiff,                    VERIF IED COMPLAINT FOR
                          vs.                                   DECLARATORY AND INJUNCTIVE
    12                                                          RELI EF; AND DAMAGES F OR
           MB GUAM, INC., BRIAN Y. SUHR, MICHAELS.              FRAUD, BREACH O F F IDUCIARY
    13     HAHM, WOO JONG KIM, GI TAE KIM,                      DUTIES, RACKET EERING AND
           ROBERTO DALALO, SOON JA CHOI, TERRY C.               RELATED CLAIMS
    14     LEE, JAEHA SHIN, BYONG SIK SOH, YOONGKI
           INDUSTRY CO., LTD., CHANG ROK SOB,
    15     PARADISE FUND I, L.P., AND DOES 1- 100.,
    16                            Defendants.
    17

    18
                 Plaintiff South Pacific Petroleum Corporati on, a Guam corporation ("SPPC"), tlu·ough its
    19
          counsel of record, hereby alleges the fo ll owing:
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    21
                                                    J URI SDICTION
    22
                  1.     Jurisdiction over claims arising under 18 U.S.C. § 1962, 28 U.S.C. § 2201, and
    23
          § 2202 is proper in thjs Court pursuant to 18 U.S.C. § 1331. Supplemental jurisdiction over the
    24

~
          common law and state claims is proper pursuant to 28 U.S.C. § 1367.
    25
                 2.      This Cou11 also has jurisdiction over this action pursuant to 18 U.S.C. § 1332: The
~   26
          amount in controversy exceeds $75,000.00, and this action involves citizens of Guam and citizens
~   27
          or subjects of South Korea

~   ·28



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 1           3.          Additionally, this Court has jurisdiction over this matter pursuant to 18 U.S.C.

2    § 1965(a) because some or all of the defendants reside, are found, have an agent, or transact affairs

3    in this district.

4            4.          Additionally and/or alternatively, this Court has jurisdiction over this matter and

 5   the defendants pursuant to 18 U.S.C. §1965(b) because the ends of justice require that these

 6   parties be brought before this Court.

 7

 8                                                     VENUE

 9            5.         Venue is proper in this district pursuant to 28 U.S.C. § 1391(a)(2) because a

10   substantial part of the events or omissions giving rise to the claims occurred, or a substantial part

11   of the property that is the subject of the action is situated in this district.

12            6.         Venue is proper in this   dis~rict   pursuant to 28 U.S.C. § 1391(b)(2) because a

13   substantial part of the events or omissions giving rise to the claims occurred, or a substantial part

14   of the property that is the subject of the action is situated in this district.

15

16                                                    PARTIES

17            7.         Plaintiff SPPC is, and at all relevant times herein was, a corporation organized and

18   existing under the laws of Guam with its principal place of business in Guam.

19            8.         Defendant MB Guam, Inc., a Guam corporation ("MBG"), is, and at all relevant

20   times herein was, a corporation organized and existing under the laws of Guam with its principal

21   place of business in Guam.

22            9.         Defendant Brian Y. Suhr ("Suhr"), is, and at all relevant times herein was, an

23   individual and a resident of Guam. In addition, at all times relevant herein Suhr acted as an

24   officer and director to SPPC and, as an officer, director, and/or owner of MBG.

25            10.        Defendant Michael S. Hahm ("Hahm"), is, and at all relevant times herein was, an

26   individual and a resident of Guam. In addition, at all times relevant herein Hahm acted as a

27   officer and director to SPPC and, as an officer, director, and/or owner of MBG.

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 1          11.     Defendant Gi Tae Kim ("GT"), upon information and belief, is, and at all relevant

2    times herein was, an individual and a resident of South Korea. In addition, GT, at relevant times

3    herein was an officer and/or director of SPPC.

4           12.     Defendant Woo Jong Kim ("WJ"), upon information and belief, 1s, and at all

5 · relevant times herein was, an individual and a resident of South Korea. In addition, at times

 6   relevant herein W J was an officer, director and/or owner of MBG. At relevant times herein, WJ

 7   represented himself to others that he had control, ownership and/or influence over SPPC. At all

 8   relevant times herein, WJ had actual knowledge that Suhr, Hahm, GT and others owed fiduciary

 9   duties to SPPC.

10          13.     Defendant Roberto Dalalo ("Dalalo"), is, and at all relevant times herein was, an

11   individual and a resident of Guam. In addition, at all times relevant herein Dalalo acted as the

12   Comptroller and Secretary to SPPC.

13          14.     Defendant Soon Ja Choi ("Choi"), is, and at all relevant times herein was, an

14   individual and a resident of Guam. In addition, at all times relevant herein, Choi was the alleged

15   holder of shares in SPPC, and subject to the control of WJ.

16          15.     Defendant Terry C. Lee ("Lee"), upon information and belief, is, and at all

17   relevant times herein was, an individual and a resident of California. In addition, at all times

18   relevant herein, Lee was the alleged holder of shares in SPPC, and subject to the control of W J.

19          16.     Defendant J aeha Shin ("Shin"), upon information. and belief, is, and at all relevant

20   times herein was, an individual and a resident of South Korea. In addition, at all times relevant

21   herein, Shin was the alleged holder _of shares in SPPC, and subject to the control of W J.

22          17.     Defendant Byong Sik Soh ("Soh"), upon information and belief, is, and at all

23   relevant times herein was, an individual and a resident of South Korea.

24           18.    Defendant Y oongki Industry Co., Ltd. ("Yoongki"), upon information and belief,

25   is, and at all relevant times herein was, a foreign corporation organized and existing under the

26   laws of South Korea with its principal place of business in South Korea.

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 1          19.     Defendant Chang Rok Soh, also known as "Changrok Soh" ("Chang"), upon

2    information and belief, is, and at all relevant times herein was, an individual and a resident of

3    South Korea.

4           20.     Defendant Paradise Fund I, L.P. ("Paradise LP"), is a limited partnership

 5   organized and existing under the laws of Guam with its principal place of business in Guam.

 6          21.     Defendants DOES 1 through 100 are individuals or entities the true identities of

 7   which are unknown to SPPC at this time whci therefore sues these defendants by such fictitious

 8   names. SPPC will endeavor to amend this pleading to allege their true names and identities when

 9   ascertained. These fictitiously named defendants either were involved in or benefited from the

10   acts complained of herein, participated with the defendants or others in the wrongful acts and

11   course of conduct complained of herein, or otherwise caused the damages sought herein.

12

13                                    FACTUAL ALLEGATIONS

14                                                SPPC

15          22.     SPPC is a corporation organized and existing under the laws of Guam. On or

16   about June 29, 2000, SPPC filed at the Department of Revenue and Taxation its Articles of

17   Incorporation, Sworn Statement of Treasurer, and Bylaws. Subsequently, SPPC received its

18   corporate certificate from the Department of Revenue and Taxation.

19          23.     SPPC was formed for the principal purpose of engaging in the operation of a

20   petroleum company and related enterprises in Guam and other locations. SPPC is not in the

21   business of real property acquisition and development, other than in furtherance of its operation

22   of a petroleum company and related enterprises.

23          24.     At relevant times herein the SPPC board of directors consisted of Suhr, Hahm, GT,

24   and Peter Leon Guerrero.       Each board member owed fiduciary duties to SPPC and its

25   shareholders and each board member had actual knowledge of the fiduciary duties each board

26   member owed to SPPC and each other board member respectively owed to SPPC.

27

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 1          25.     At relevant times herein the SPPC shares were allegedly held as follows: Soon Ja

2    Choi, Terry C. Lee, Jaeha Shin, Brian Suhr, Michael Hahm, Paul Kim, and Peter Leon Guerrero.

3

4                                              MB GUAM, INC.

5           26.     MBG is a corporation organized and existing under the laws of Guam.

 6          27.     At times relevant herein, the MBG officers, directors, and/or owners were Suhr,

 7   Hahm, and WJ.

 8          28.     MBG is not an affiliate or subsidiary of SPPC and is an entity entirely separate and

 9   apart from SPPC.

10          29.     Upon information and belief, MBG was formed for the purpose of engaging in the

11   fraudulent loan transaction alleged herein, and at the relevant times herein owned no assets and

12   had no capitalization.

13

14                                                   SOH

15          30.     Defendant Soh, upon information and belief, is, and at all relevant times herein

16   was, an individual and a resident of South Korea.

17          31.     Upon information and belief, at all relevant times herein, Soh did not have a

18   business license authorizing it to conduct business in Guam.

19          32.     Upon information and belief, at all relevant times herein, beginning prior to or

20   around 2007 through the present, Soh conducted foreign bank business in Guam without having

21   first obtained a Guam business license.

22

23                                                 YOONGKI

24           33.     Defendant Yoongki, upon information and belief, is, and at all relevant times

25   herein was, a foreign corporation organized and existing under the laws of South Korea with its

26   principal place of business in South Korea.

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            34.     Upon information and belief, at all relevant times herein, Yoongki was engaged in

2    the business of renting real estate in South Korea, and did not have a business license authorizing

3    it to conduct business in Guam.

4           35.     Upon information and belief, at all relevant times herein, Yoongki did not have a

 5   foreign coq)oration certificate issued by the Guam Department of Revenue and Taxation

 6   ("DRT'').

 7          36.     Upon iJ1formation and belief, at all relevant times hereiJ1 , Yoongki did not have a

 8   foreign bank certificate issued by DRT.

 9          37.     Upon information and belief. at all relevant times herein, begi1ming prior to and

10   around 2007 tlu·ough the present, Yoongki conducted foreign bank business in Guam without

11   having first obtained a Guam business license, a Guam foreign corporation certificate, or a Guam

12   foreign bank certification.

13

14                                                    CHANG
15          38.      Defendant Chang, upon information and belief, is, and at all releva11t tiines herein
16   was, an individual and a resident of South Korea.

17           39.     Upon information and belief, at all relevant times herein, Chang directly

18   pruiicipated in the fraudulent transactions alleged herein, or acted as the agent, or purportedly

19   acted as the agent, of Soh and Yoongki with respect to the fraudulent transactions alleged herein.

20          40.      Upon information and belief, at all relevant times herein, Chang did not have a
21   business license authorizing it to .conduct business in Guam.

22          41.    · Upon information and belief, at all relevant times herein, begi1ming prior to or

23   around 2007 through the present, Chang, on behalf of himself or on behalf of Soh and Yoogki ,

24   conducted foreign bank business in Guam without having first obtained a Guam business license.
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 1                                                 PARADISE LP

2           42.      Defendant Paradise LP is a limited partnership organized and existing under the

3    laws of Guam. On or about December 1, 2006, Paradise LP filed at the Department of Revenue

4    and Taxation its Certificate of Limited Partnership.

5           43.      Paradise LP was formed for the principal purpose of investing in and developing

6    real estate in the Territory of Guam.

7           44.      At relevant times herein, upon information and belief, the General Partner of

 8   Paradise LP was Sunwill Investments, LLC, and the Limited Partners of Paradise LP were MCC

 9   Capital, LLC, Richard B.C. Lee, and Defendant Chang.

10          45.      Upon information and belief, Defendant WJ was the Manager and a Member of

11   Sunwill Investments, LLC, the General Partner of Paradise LP, and therefore had general control

12   over Paradise LP.

13          46.      Paradise LP is not an affiliate of SPPC and is an entity entirely separate and apart

14   from SPPC.

15          47.         Pursuant to the terms of the Certificate of Limited Partnership of Paradise LP,

16   Defendant Chang, whether on his own behalf or purportedly on behalf of Soh and Yoongki,

17   contributed   an    amount equal to Three Million Dollars ($3,000,000.00) to Paradise LP with

18   respect to a thirty percent (30%) limited partnership interest in the partnership.

19           48.        Upon information and belief, at all relevant times herein, Paradise LP directly

20   participated in the fraudulent transactions alleged herein.

21

22                                        FRAUDULENT LOAN SCHEMES

23           49.        On or about the year 2000, the patriarch of the present SPPC majority

24   shareholders, Sang Yeon Hahn ("SY Hahn"), established SPPC as a Guam corporation and a

25   major Guam business concern. SY Hahn hired Suhr and Hahm as SPPC President and Vice

26   President.    Subsequently, in or about February 2002, SY Hahn suffered a debilitating stroke

27   which resulted in the appointment of a guardian over him and the creation of a trust over some of

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 1     his assets, the trustee of which was WJ. During this period of debilitation and until the time of

 2     SY Hahn's death in August 2008, a dispute arose over the control and ownership of his assets.

 3     WJ, in association with Suhr, Hahm, GT, and others, and in breach of his fiduciary duties as

 4     trustee to SY Hahn's trust, exploited these circumstances in a pattern of activity designed to

 5     fraudulently and wrongfully misappropriate SY Hahn's assets, by false and fraudulent pretenses,

 6     concealing evidence of their wrongful activities from SY Hahn, SY Hahn's guardian, SY Hahn's

 7     family, and others, using the mail, the wire, telephone, facsimile, internet, e-mails, and letters, in

 8     interstate and foreign commerce, between Guam, Korea, and the United States.

 9                50.   In furtherance of this fraudulent scheme, and as specifically raised and resolved in

10     prior litigation before this Court in Hana Bank v. South Pacific Petroleum Corporation and

11     Access Ypao, Inc., Civil Case No. CV 09-00012, WJ and others conspired to defraud SY Hahn

12     and his estate by fraudulently effectuating the transfer of SY Hahn's majority-owned shares in

13     SPPC to each of Defendants Choi, Lee and Shin, with full knowledge that no consideration would

14     be paid for the shares; that each of them would essentially hold the shares as sham shareholders

15 ·   subject to WJ's control; and that WJ's fraudulent loan schemes would be accomplishec;l pursuant

16     thereto.

17                51.   In furtherance of this fraudulent scheme, and as specifically raised and resolved in

18     prior litigation in the State of California, WJ and others conspired to defraud SY Hahn and his

19     estate,· embezzled millions of dollars and property from the SY Hahn estate and the SY Hahn

20     Trust, and fraudulently effectuated the transfer of SY Hahn's shares in SPPC to persons under

21     WJ's control. See Notice of Motion and Motion for Judgment, Notice of Entry of Judgment, and

22     Supplement to Motion for Entry of Judgment, In re Matter of Sang Yeon Hahn Trust, Case No.

23     BPI 08268, Superior Court of the State of California, Central District of the County of Los

24     Angeles, copies of which are attached hereto as EXHIBIT 1.

25                52.   In furtherance of this fraudulent scheme, and prior to 2007, Suhr, Hahm, GT and

26     WJ and others had real estate acquisition and development plans which were completely
27     unrelated to SPPC. In furtherance of those plans, Suhr, Hahm, GT and WJ, and others set up
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 1   companies and entities entirely separate and apart from SPPC. These entities included MBG and

2    Paradise LP.

3           53.      Prior to 2007 SPPC had a senior loan outstanding ("Outstanding Loan") with

4    Hanmi Bank in California which was secured by assets owned by SPPC.              Pursuant to the

 5   Outstanding Loan, SPPC was prohibited from assuming further liability or indebtedness,

 6   including guaranteeing any other loans without the bank's consent. Otherwise, SPPC would be in

 7   default of its loan covenants under the Outstanding Loan.      At all relevant times herein, the

 8   Outstanding Loan was and is a matter of SPPC record and was and is referenced in its audit

 9   reports and other related corporate documents.

10          54.      Suhr, Hahm, GT, Dalalo and WJ and others had actual knowledge of the

11   Outstanding Loan and the covenant prohibiting SPPC from acquiring any further liability or

12   indebtedness.

13          55.      At the beginning of 2007, Suhr, Hahm, GT and WJ in association with others

14   schemed to enter into a series of fraudulent multi-million dollar loan transactions for themselves

15   and for the companies and other entities that would benefit them or others personally, but would

16   expose SPPC to extreme and unreasonable risk and financial ruin.

17          56.      Pursuant to the fraudulent loan schemes, Suhr, Hahm, GT and WJ and others,

18   using their personal and financial relationships and associations with various Korean lenders,

19   including Defendants Chang, Soh and representatives and agents of Defendant Yoongki,

20   conspired with the Korean lenders to enter into multi-million dollar loan transactions for the

21   benefit of the separate entities formed by Suhr, Hahm, GT and WJ.

22          57.      With respect to a majority of these various multi-million dollar loans, all agreed

23   that they would purport to secure these loan transactions with fraudulently or wrongfully procured

24   guarantees from SPPC.      The guarantees would be incorporated as a part of each of the loan

25   transactions and would be referenced and incorporated in each of the loan transaction documents

26   therein. The enforcement of these fraudulently or wrongfully procured guarantees were raised

27   and resolved in prior litigation before this Court in Hana Bank v. South Pacific Petroleum

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     Corporation and Access Ypao, Inc., Civil Case No. CV 09-00012, Mirae Asset Securities Co.,

2    Ltd., et al. v. South Pacific Petroleum Corporation and Hanom Investments, Inc., Civil Case No.

3    CV 09-00013, and Mirae Asset Securities Co., Ltd., et al. v. South Pacific Petroleum Corporation

4    and Access Ypao, Inc., Civil Case No. CV 09-00014.

 5          58.     With respect to the multi-million dollar loan at issue here, Suhr, Hahm, GT, Dalalo

 6 · and WJ, with the knowledge and participation of Soh, Yoongki, and Chang, collectively knew a

 7   loan transaction directly with MBG would raise genuine suspicion as MBG had absolutely no

 8   assets and no capital under its corporate umbrella. As such, rather than entering into a loan

 9   transaction directly with MBG and purporting to secure such loan through a guarantee from

10   SPPC, Suhr, Hahm, GT, Dalalo and WJ, with the knowledge and participation of Soh, Yoongki,

11   and Chang, fraudulently or wrongfully procured a loan through SPPC for the direct benefit of and

12   use by, MBG, whether permanently or with the intention of subsequently transferring the

13   proceeds to Paradise LP directly or on behalf of Defendants Soh, Yoongki, and Chang.

14          59.     Upon information and belief, Soh, Yoongki, and Chang intended to and did invest

15   and contribute an amount equal to Three Million Dollars ($3,000,000.00) to Paradise LP, in

16   exchange for a thirty percent (30%) limited partnership interest in the partnership.

17          60.     Soh, Yoongki and Chang each had actual or constructive knowledge and/or knew

18   or should have known that MBG lacked the financial ability to re-pay the loan, that Paradise LP

19   was the intended recipient of the funds as a capital contribution by Chang, whether directly or

20   purportedly on behalf of Soh and Yoongki, that MBG was insufficiently capitalized to secure or

21   repay the indebtedness of the loan, that MBG was a sham entity, a vehicle desigl)ed to perpetrate

22   the fraudulent loan scheme, and that the fraudulent loan scheme would effectuate, on behalf of

23   Soh, Yoongki, and Chang, the legal impossibility of loaning an amount of Three Million Dollars

24   ($3,000,000.00) to SPPC in the capacity as borrowers, while obtaining a limited partnership
25   interest credit in Paradise LP for the contribution of the same proceeds to Paradise LP, through

26   multiple transfers involving the sham entity, MBG.         But, by obtaining the fraudulently or

27   wrongfully procured loan through SPPC, Soh, Yoongki and Chang knew they could, and intended

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 1   that they would, use the financial resources of SPPC to satisfy the loan transaction obligations,

2    while simultaneously obtaining a potential lucrative partnership interest in Paradise LP. Soh,

3    Yoongki and Chang also had or expected to have, in addition to their limited partnership interest

4    in Paradise LP, joint business relationships or other economic opportunities with Suhr, Hahm,

 5   GT, WJ, Dalalo, MBG, and others, who engaged in the scheme.                Plaintiff submits further

 6   . discovery will uncover additional details related to the fraudulent loan scheme with respect to the

 7   participation of Soh, Y oongki, Chang, Paradise LP, MBG and the ultimate transfer and receipt of

 8   the purported loan proceeds at issue in this matter. As a part of the fraudulent loan scheme, Soh,

 9    Y oongki and Chang made certain that the loan transaction documents were drafted in a manner

10   and contained language which would make avoidance of the loan transaction difficult to nullify.

11   Further, in order to ensure that the scheme would succeed, all participants to it agreed that

12   transaction documents associated with the fraudulent loan scheme would be concealed from, and

13   that material facts relating thereto would be misrepresented to, SPPC shareholders, employees,

14    attorneys, auditors, and others who may prevent the scheme from being committed.

15           61.     In furtherance of the fraudulent loan scheme, and in particular, the concealment of

16   the transaction documents from SPPC shareholders, employees, attorneys, auditors, and others

17    who may prevent the scheme from being committed, the purported loan transaction, and all

18    information related thereto, was specifically excluded from every annual audit of SPPC from the

19    time of the purported transaction to the present.

20           62.     In furtherance of the fraudulent loan scheme, and in particular, the concealment of

21    the transaction documents from SPPC shareholders, employees, attorneys, auditors, and others

22    who may prevent the scheme from being committed, the purported loan transaction, and all

23    information related thereto, was specifically concealed and excluded from representations made

24    by SPPC to Ernst & Young, on October 31, 2008. See letter from SPPC to Ernst & Young, dated

25    October 31, 2008, attached hereto as EXHIBIT 2.

26           63.     In furtherance of the fraudulent loan scheme, and in particular, the concealment of

27    the transaction documents from SPPC shareholders, employees, attorneys, auditors, and others

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 1   who may prevent the scheme from being committed, the purported loan transaction, and all

2    information related thereto, was specifically concealed and excluded with respect to

 3   representations made pursuant to subsequent amendments of the Outstanding Loan, to include

4    amendments made as late as September 30, 2008.                See Amendments to Outstanding Loan,

 5   attached hereto as   EXHIBIT   3, whereby SPPC continued to represent the existence of no further

 6   Events of Default under the Outstanding Loan, and the continued applicability of the

 7   representations and warranties under the terms of the Outstanding Loan, each statement of which

 8   is expressly false and fraudulent.

 9          64.     Prior to consummating the loan transaction scheme, Sob, Yoongki and Chang had

10   actual or constructive knowledge, and/or knew or should have known, that Suhr, Hahm, GT and

11   Dalalo, by virtue of their respective positions as officers and/or directors of SPPC, owed fiduciary

12   duties to SPPC; that WJ had actual or constructive knowledge and/or knew or should have known

13   that Suhr, Hahm, GT and Dalalo owed fiduciary duties to SPPC; that Suhr, Hahm, and WJ, and

14   others were officers, directors, and/or owners of MBG and Paradise LP; that Suhr, Hahm, GT,

15   Dalalo and WJ, and others perpetrated the fraudulent loan scheme for the benefits of themselves

16   or other third parties affiliated with them; that WJ had misrepresented himself to others, other

17   than Sob, Yoongki and Chang who knew otherwise, that he had ownership, control or influence

18   over SPPC such that the purported SPPC loan could and would be fraudulently procured; that the

19   fraudulent loan scheme would cause Suhr, Hahm, GT and Dalalo to violate their fiduciary duties

20   to SPPC; that under the fraudulent loan scheme, Suhr, Hahm, GT, and others would have

21   conflicts of interest which prohibited them from attempting to bind SPPC to the purported loan;

22   that under the fraudulent loan scheme Suhr, Hahm, GT, Dalalo and WJ and others committed

23   prohibited acts of self-dealing; and, that SPPC would receive no true consideration or actual

24   benefit for the purported loan transaction.

25           65.    Prior to consummating the loan transaction scheme, and alternatively, as evidence

26   of their complicity in it, Sob, Yoongki and Chang failed to exercise due diligence or to act in a

27   commercially reasonable manner, under either Korean and American standards, regulations,
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 1   and/or laws, inter alia, in determining whether or not the prospective loan to be procured through

2    SPPC could be duly and properly obtained; whether they were authorized by SPPC; whether they

3    would be disclosed to the SPPC shareholders, would provide any benefits to SPPC, and whether

4    or not SPPC had the ability to satisfy the loan in the event of default. Additionally, Soh, Y oongki

 5   and Chang failed to review SPPC' s financials, credit standing, audit reports, or any other material

6    or. information customarily examined under commercially reasonable standards.           Defendants

 7   Soh' s and Y oongki' s failure to exercise due diligence was part of the very fraudulent loan scheme

 8   itself.

 9              66.   Had Soh, Y oongki and Chang exercised due diligenc·e, they would have

10   discovered that the Outstanding Loan prohibited SPPC from entering into the prospective loan

11   transaction without the lender's consent; that by examining the financial condition of SPPC that

12   the financial liability resulting from the prospective loan, together with other fraudulently

13   obtained guarantees, could cause SPPC to become insolvent or bankrupt; that by examining the

14   corporate registries of SPPC and MBG, that the prospective loan would cause grievous breaches

15   of fiduciary duty by Suhr, Hahm, GT and othei:s, who served in conflicting representative

16   capacities of authority both with SPPC, MBG and Paradise LP; that it would be financially

17   illogical for SPPC to agree to be bound by the prospective loan with full knowledge that the

18   proceeds of the loan transaction were being paid directly to and for the sole benefit of, MBG

19   and/or Paradise LP, and that SPPC would receive no true consideration nor actual benefit for

20   entering into the loan transaction but be subject to grave financial risk to SPPC's very existence;

21   and, that Suhr, Hahm, GT, Dalalo and others would be abusing their representative authority of

22   SPPC should they attempt to bind SPPC to the prospective loan.

23

24                             THE FRAUDULENT 3 MILLION DOLLAR LOAN

25              67.   In furtherance of the fraudulent loan scheme, upon information and belief, Suhr,

26   Hahm, GT, Dalalo, Choi, Lee, Shin, and others consented and agreed, purportedly in their

27   respective capacities as officers and/or directors or shareholders of SPPC, or through the

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 1   fraudulent use of other corporate procedures, allegedly caused an SPPC resolution to be passed,

2    or a corporate act to be taken, to inter alia bind SPPC to a loan transaction with Soh and Yoongki,

3    and, to authorize SPPC to execute the purported loan transaction documents, with full knowledge

 4   that the proceeds of the loan transaction were being paid directly to and for the sole benefit of,

 5   MBG and/or Paradise LP, and that SPPC would receive no true consideration nor actual benefit

 6   for entering into the loan transaction.

 7           68.    In furtherance of the fraudulent loan scheme, on or about February 27, 2007, Suhr,

 8   Hahm, GT, Dalalo, and others, purportedly in their respective capacities as officers and/or

 9   directors of SPPC, and on behalf of SPPC, and Soh and Yoongki, entered into a THREE

10   MILLION DOLLAR ($3,000,000.00) loan scheme. Upon information and belief, the following

11   documents were included as a part of the scheme: (a) February 27, 2007 CB Subscription and

12   Purchase Agreement ("CB Subscription Agreement"); and (b) Convertible Bonds, Certificates

13   Nos. 1-1, 1-2, and 1-3 ("Bonds") (the CB Subscription Agreement and the Bonds collectively

14   referred to herein as the "Transaction Documents"), copies of which are attached hereto as

15   EXHIBIT 4. The Transaction Documents were drafted by and on behalf of Soh and Yoongki, who

16   dictated and controlled the content of each of the documents.

17           69.     The Transaction Documents provided that the principal amount of $3 Million shall

18   bear interest at the rate of five percent (5%) per annum until paid in full.

19           70.     The Transaction Documents provided that payments of principal "will be made

20   only against presentation and surrender of the Bonds at the specified office of the Company .... "

21           71.     The Transaction Documents provided that the Bondholders "will not be entitled to

22   any payment of principal for any delay after the due date . . . if the Bondholder is late in

23   surrendering its Bonds .... "

24           72.     The Transaction Documents provided that all principal and interest on the Bonds·

25   were due and payable on March 1, 2010 (the "Maturity Date").

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 1          73.     The Transaction Documents provided that in the event of non-payment in

2    accordance with the conditions above, SPPC was required to pay default interest at a rate of thirty

3    percent (30%) per annum on any unpaid principal and interest.

 4          74.     The Transaction Documents fraudulently misrepresented that its execution and

 5   delivery of the Bonds will not conflict with, constitute a default under, or give rise to any right to

 6   termination or otherwise under any agreement or mortgage to which SPPC is a party.

 7          75.     On or about February 27, 2007, and February 28, 2007, Suhr, in spite of his

 8   numerous conflicts of interest and intentional disregard of his fiduciary duties to SPPC, and with

 9   full knowledge that the proceeds of the loan transaction were being paid directly to and for the

10   sole benefit of MBG and/or Paradise LP, executed the CB Subscription Agreement and issued the

11   Bonds to Soh and Y oongki.

12          76.     At the time Suhr executed the Transaction Documents, Soh, Yoongki and Chang

13   had actual knowledge that Suhr, Hahm and GT were officers and directors of SPPC, and at the

14   same time Suhr and Hahm were also officers, directors and/or owners of MBG, and, upon

15   information and belief, Suhr and Hahm also had interests in Paradise LP.

16           77.    At the time of this fraudulent loan scheme, upon information and belief, WJ was a

17   director, officer, and/or owner of MBG, and a Manager and Member of the General Partner of

J8   Paradise LP.

19           78.    WJ directly participated in the scheme to fraudulently procure the purported loan

20   for the sole benefit of MBG and/or Paradise LP through SPPC.

21           79.    At the time of this fraudulent loan scheme, upon information and belief, Soh,

22   Y oongki and Chang knew that the proceeds of the loan transaction were being paid directly to

23   and for the sole benefit of MBG and/or Paradise LP, and that Chang, whether directly or on

24   behalf of Soh and Yoongki, would obtain a partnership interest in Paradise LP through the

25   fraudulent transfer of the proceeds of the loan transaction.

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 1          80.     Soh, Yoongki and Chang did not require that MBG, the initial transferee of the

2    loan transaction, directly obtain the loan, nor did they require that MBG or the owners of MBG

3    provide their respective personal guarantees as security for the 3 MILLION DOLLAR LOAN.

4           81.     Upon information and belief, Soh, Yoongki and Chang determined not to comply

5    with the rigorous governmental requirements in making a direct investment of Three Million

6    Dollars ($3,000,000.00) in Paradise LP, and instead directly participated in the fraudulent loan

 7   transaction for the 3 MILLION DOLLAR LOAN to fraudulently procure both a borrower

 8   position and a limited partnership interest in Paradise LP using the same proceeds.

 9          82.     Following the execution of the Transaction Documents, on March 1, 2007, SPPC

10   received a wire transfer of $3,000,000 from Soh and Yoongki.

11          83.     On or about March 6, 2007, Suhr, Hahm, GT, Dalalo, and others, purportedly in

12   their respective capacities as officers and/or directors of SPPC, caused the wire transfer of

13   $2,500,000 directly to MBG.

14          84.     On or about March 15, 2007, Suhr, Hahm, GT, Dalalo, and others, purportedly in

15   their respective capacities as officers and/or directors of SPPC, caused the wire transfer of the

lq   balance of the loan proceeds, or $500,000, directly to MBG.

17          85.     Upon information and belief, the aggregate amount of Three Million Dollars

18   ($3~000,000.00)   was originally intended to be transferred by MBG to Paradise LP on behalf of

19   Soh, Yoongki, and Chang, and was subsequently transferred by MBG to Paradise LP, on behalf

20   of Soh, Yoongki, and Chang.

21          86.     In furtherance of the fraudulent loan scheme, on or about March 10, 2010, then-

22   SPPC Comptroller and Secretary, Defendant Dalalo, with the participation of and direction and

23   instruction by, Suhr, Hahm, GT, and others, communicated through electronic means with SPPC

24   shareholder Seung Hee Hahn with respect to the foregoing wire transfers, and specifically
25   concealed the nature of the transactions: "SPPC's bank account was used to facilitate the transfer

26   of $3,000,000 to MB Guam Inc. Thus, these transfers were not recorded on SPPC's book." See

27   email correspondence dated March 24, 2010 and June 8, 2010, attached hereto as EXHIBIT 5.
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 1           87.     In furtherance of the fraudulent loan scheme, and in continued efforts to conceal

2    the transactions from SPPC, not one notice or demand was transmitted to SPPC, nor was there

3    any communication whatsoever, by Sob ,Y oongki, or Chang, to SPPC, with respect to the

 4   payment of the debt purportedly reflected in or represented by the Transaction Documents.

 5   Furthermore, Sob, Y oongki and Chang have never made a presentation or surrender of the Bonds

 6   to SPPC, as required by the terms of the Transaction Documents.

 7           88.     There was no true consideration or actual benefit whatsoever received by SPPC for

 8   the purported loan transaction.

 9           89.     Sob, Yoongki and Chang each had actual or constructive knowledge, and/or knew

10   or should have known that SPPC was to receive no true consideration or actual benefit

11   whatsoever for the purported loan transaction.

12           90.     Sob, Y oongki and Chang each had actual or constructive knowledge, and/or knew

13   Qr should have known that the business of SPPC was the operation of a petroleum company and

14   related enterprises and that neither MBG nor Paradise LP had any legitimate assets or business to

15   justify its receipt of the loan proceeds.

16           91.     Sob, Yoongki and Chang each had actual or constructive knowledge, and/or knew

17   or should have known that MBG and Paradise LP were not affiliates of SPPC, that MBG was not

18   a subsidiary of SPPC, that MBG and Paradise LP were both entities entirely separate and apart

19   from SPPC, and that neither had any actual relationship whatsoever with SPPC.

20           92.     At the time ofthe execution of the purported Transaction Documents, Suhr, Hahm,

21   GT, Dalalo and WJ and others, in association with Sob, Yoongki and Chang had actual or

22   constructive knowledge, and/or knew or should have known the following: (a) that SPPC lacked

23   the capacity to satisfy the purported loan transaction; (b) that enforcement of the purported

24   Transaction Documents threatened the very existence of SPPC; ( c) that the purported Transaction

25   Documents had not been disclosed to the SPPC shareholders; ( d) that the SPPC shareholders did

26   not consent to the purported loan transaction; ( e) that the SPPC shareholders did not waive their

27   preemptive shareholder rights as required to implement the terms of the Transaction Documents

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 1   with respect to the conversion rights; (f) that SPPC had not received advice from any attorney as

2    to the propriety of the purported Transaction Documents; (g) that SPPC was prohibited by the

3    terms of the Outstanding Loan from making any loan without the lender's prior consent, and that

4    the purported Transaction Documents would place SPPC in default thereunder; (h) that the

 5   purported Transaction Documents was directly against the interests of SPPC; (i) that Suhr, Hahm,

 6   GT, Dalalo and others owed fiduciary duties to SPPC and that binding SPPC to the purported

 7   Transaction Documents constituted a breach of their fiduciary duties to SPPC; G) that the acts of

·8   Suhr, Hahm, GT, Dalalo and others to attempt to bind SPPC to the Transaction Documents

 9   constituted grave conflicts of interest, and abuses of their respective representative capacity

10   authority; and (k) that the purported Transaction Documents had been concealed from SPPC, its

11   attorneys, employees, auditors, shareholders and others.

12          93.     In furtherance of their fraudulent loan scheme, Suhr, Hahm, GT, Dalalo and WJ,

13   and others, in association with and with the active participation of Soh, Yoongki, and Chang,

14   concealed the Transaction Documents from SPPC, its attorneys, employees, auditors,

15   shareholders and others.

16

17          ADDITIONAL ELEMENTS OF THE FRAUDULENT LOAN SCHEME

18          94.     In furtherance of the fraudulent loan scheme, the purported loan transaction was

19   concealed from SPPC, its attorneys, employees, auditors, shareholders and others who would

20   have prevented the scheme had the facts of the scheme not been concealed from them.

21          95.     Suhr and upon information and belief, others who served in purported

22   representative capacities at SPPC, misrepresented material facts regarding the purported loan

23   transaction and otherwise deceived other SPPC fiduciaries, in furtherance of the scheme to

24   fraudulently procure the purported SPPC loan transaction for the sole benefit of and use by MBG

25   and/or Paradise LP.

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 1          96.     SPPC representatives lacked authority to bind SPPC to the purported loan

2    transaction and Soh, Yoongki and Chang had actual or constructive knowledge and/or knew or

3    should have known this fact.

4           97.     The SPPC representatives abused their purported representative authority in their

 5   attempts to bind SPPC to the purported loan transaction and Soh, Yoongki and Chang had actual

6    or constructive knowledge and/or knew .or should have known this fact.

 7          98.     The SPPC representatives engaged in self-dealing in their attempts to bind SPPC

 8   to the purported loan transaction and Soh, Yoongki and Chang had actual or constructive

 9   knowledge and/or knew or should have known this fact.

10          99.     The SPPC representatives had actual conflicts of interest which prohibited them

11   from attempting to bind SPPC to the purported loan transaction and Soh, Yoongki and Chang had

12   actual or constructive knowledge and/or knew or should have known this fact.

13          100.    The SPPC representatives breached their respective fiduciary duties in their

14   attempts to bind SPPC to the purported loan transaction and Soh, Yoongki and Chang had actual

15   or constructive knowledge and/or knew or should have known this fact

16          101.    Soh, Yoongki and Chang, MBG, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ

17   and others each participated in the fraudulent loan scheme, and the conduct and knowledge of

18   each of them individually, is imputed to the others collectively.

19          102.    In furtherance of the fraudulent loan scheme, on or about February 26, 2015,

20   without any prior notice, demand or communication with SPPC, and without any presentation and

21   surrender of the Bonds to SPPC, almost five (5) years after the Maturity Date, Soh and Yoongki

22   filed an action in Seoul Central District Court, South Korea, seeking the enforcement of the

23   Transaction Documents (the "South Korea Lawsuit").

24          103.    On or about August 20, 2015, SPPC was served with the documents related to the

25   South Korea Lawsuit, providing the first and only notice SPPC received concerning the

26   Transaction Documents, the debt purportedly reflected and represented therein, and the fraudulent

27   actions committed by Suhr, Hahm, GT, Dalalo, WJ, MBG, Paradise LP and others, in association
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                                                                    '~

1    with and with the active participation of Soh, Yoongki, and Chang, to conceal the Transaction

2    Documents from SPPC, its attorneys, employees, auditors, shareholders and others.

3           104.      In furtherance of the fraudulent loan scheme, Soh, Yoongki, Chang, Suhr, Hahm,

4    GT, Dalalo, WJ, MBG, Paradise LP and others, have at all relevant times herein had actual or

5    constructive knowledge, and/or knew or should have known that SPPC would be incapable of

6    performing under the purported loan without resulting in financial ruin to SPPC.

 7          105.      Upon information and belief, in perpetrating the fraudulent loan scheme, Soh,

 8   Yoongki, Chang, Suhr, Hahm, GT, Dalalo, WJ, MBG, Paradise LP and others, attempted to

 9   commit and committed various acts of mall fraud as that term is defined in 18 U.S.C. Chapter 63

10   including but not limited to the following: devising a scheme or artifice to defraud SPPC, to

11   fraudulently and wrongfully procure the loan transaction from SPPC, to misappropriate SPPC's

12   assets, and/or to obtain money or property from SPPC, through the fraudulent loan scheme, by

13   false or fraudulent pretenses, using the mail, wire, telephone, facsimile, internet, e mails and

14   letters, in interstate and foreign commerce, between Guam, Korea, the United States and

15   elsewhere.

16           106.     In furtherance of fraudulent loan scheme, Soh, Yoongki and Chang did not make

17   one timely demand on SPPC, nor did they make a presentation and surrender of the Bonds for the

18   payment of the debt purportedly reflected and represented in the Transaction Documents, and

19   instead waited in silence to. file an action in South Korea to enforce the fraudulently and

20   wrongfully procured loan transaction.

21        FIRST COUNT: THE TRANSACTION DOCUMENTS ARE VOID AND/OR
      UNENFORCEABLE BECAUSE SOH, YOONGKI AND CHANG FAILED TO COMPLY
22                    WITH GUAM BUSINESS LICENSE LAWS
23           107.     SPPC realleges the allegations contained in paragraphs 1 through 106 as if fully

24   stated herein.

25           108.     Under Guam Business License laws it is the policy of the Government of Guam

26   that all businesses have licenses. 11 G.C.A. § 70130 provides in pertinent part, "It is the policy of

27   the government of Guam that all persons engaging in, transacting, conducting, continuing, doing,
28

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 1   or carrying on a business have business licenses. Unless otherwise specifically exempted by law,

2    no person shall engage in, transact, conduct, continue, do, or carry on a business in Guam until it

3    obtains a business license."

4           109.      Upon information and belief, at all relevant times herein, Soh, Yoongki and Chang

 5   were each subject to Guam business license laws but transacted business without first complying

 6   with Guam business license laws.

 7          110.      11 G.C.A. § 70119 provides in pertinent part, "Any person who is required by the

 8   terms of this Division to obtain a license or licenses, and endorsements applicable thereto, and

 9   who refuses or fails to obtain such license or licenses, and endorsements, shall be guilty of a

10   misdemeanor.

11           111.     Upon information and belief, at all relevant times herein, Soh, Yoongki and Chang

12   were each required to obtain a business license or licenses but failed to do so rendering each of

13   their respective acts of conducting business in Guam, illegal, and their execution and enforcement

14   of the Transaction Documents, illegal.

15           112.     Any and all transactions relating to the fraudulent loan scheme under which Soh

16   arid Yoongki assert SPPC is liable are illegal, void, and/or unenforceable.

17           113.     The Court should issue a declaratory judgment that the Transaction Documents are

18   illegal, void, and/or unenforceable, and, issue injunctive relief consistent therewith.

19        SECOND COUNT: THE TRANSACTION DOCUMENTS ARE VOID AND/OR
         UNENFORCEABLE WITH RESPECT TO YOONGKI BECAUSE IT FAILED TO
20                   REGISTER AS A FOREIGN CORPORATION
21           114.     SPPC realleges the allegations contained in paragraphs 1 through 113 as if fully

22   stated herein.

23           115.     Under Guam foreign corporation laws, a foreign corporation shall not transact

24   business in Guam until it obtains both a business license and a certificate of authority to do so

25   from the Director of the Department of Revenue and Taxation.

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            116.      Upon information and belief, at all relevant times herein, Y oongki was a foreign

2    corporation transacting business in Guam which had not obtained business licenses or certificates

3    of authority from the Department of Revenue and Taxation.

4           117.      Upon information and belief, at all relevant times herein, Yoongki was required to

5    but failed to obtain business licenses and certificates of authority to conduct business in Guam as

 6   a foreign corporation.

 7          118.      Any and all transactions relating to the fraudulent loan scheme under which

 8   Yoongki and others assert SPPC is liable are illegal, void, and/or unenforceable.

 9           119.     The Court should issue a declaratory judgment that the Transaction Documents are

10   illegal, void, and/or unenforceable, and, issue injunctive relief consistent therewith.

11
                              THIRD COUNT: STATUTE OF LIMITATIONS
12
             120.     SPPC realleges the allegations contained in paragraphs 1 through 119 as if fully
13
     stated herein.
14
             121.     As alleged herein, the Transaction Documents were purportedly executed on or
15
     about February 27 and February 28, 2007, and required the payment of tp.e entire principal and
16
     interest due under the purported loan transaction no later than the Maturity Date, or March 1,
17
     2010, upon the presentation and surrender of the Bonds.
18
             122.     The commencement of an action upon any contract, obligation or liability founded
19
     upon an instrument in writing must be filed within four (4) years. See 7 G.C.A. § 11303.
20
             123.     Sob, Yoongki and Chang were required to file an action to enforce the    Trans~ction
21
     Documents within four years following the Maturity Date, and failed to do so.
22
             124.     The Court should issue a declaratory judgment that the Transaction Documents are
23
     invalid and/or unenforceable, and, issue injunctive relief consistent therewith.
24
                              FOURTH COUNT: LACK OF CONSIDERATION
25

26           125.     SPPC realleges the allegations contained in paragraphs 1 through 124 as if fully

27   stated herein.

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1            126.     SPPC received no true consideration or actual benefit to support the purported loan

2    transaction. Any statements or implications contained in the Transaction Documents that the loan

3    proceeds were to be used by or for the benefit of SPPC or are otherwise supported by

4    consideration are false and fraudulent. Because the Transaction Documents are not supported by

5    consideration to SPPC, the Transaction Documents are void and/or unenforceable under Guam

6    law.
7            127.     The Court should issue a declaratory judgment that the Transaction Documents are

8    illegal, void, and/or unenforceable, and, issue injunctive relief consistent therewith.

 9
10          FIFTH COUNT: PROCEDURAL AND SUBSTANTIVE UNCONSCIONABILITY

11           128.     SPPC realleges the allegations contained in paragraphs 1 through 127 as if fully

12   stated herein.

13           129.     The procedures by which the purported loan transaction was procured were

14   unconscionable, based upon inter alia fraud, false pretenses, breaches of fiduciary duties, self

15   dealing, abuses of representative authority, commercially unreasonable conduct, material

16   misrepresentations, concealment, and, outrageous, extreme, illegal, willful, oppressive, and

17   malicious conduct.

18           130.     Additionally and/or alternatively, the terms of the purported loan transaction are

19   unconscionable because inter alia SPPC received no true consideration or actual benefit for the

20   purported loan transaction yet was subjected to extreme financial risk and ruin, exposed to

21   unreasonable liability and insolvency; commercially unreasonable, fraudulent, and false terms;

22   false and fraudulent pretenses; commercially unreasonable repayment terms; and, commercially

23   unreasonable interest terms. Additionally, the Transaction Documents constitute agreements that

24   no promisor with any sense, and not under a delusion, would make, and that no honest and fair
25   promisee would accept.
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 1            131.     The Court should issue a declaratory judgment that the loan transaction is

 2    procedurally and/or substantively unconscionable, illegal, void, and/or unenforceable, and, issue

 3    injunctive relief consistent therewith.

 4
         SIXTH COUNT: LACK OF CONSENT AND WAIVER OF PREEMPTIVE RIGHTS
 5
              132.     SPPC realleges the allegations contained in paragraphs 1 through 131 as if fully
 6
      stated herein.
 7
              133.     The transactions reflected in the Transaction Documents required the consent of
 8
      the Board of Directors. of SPPC, the consent of the Shareholders of SPPC, and a waiver of
 9
      existing preemptive rights of the Shareholders of SPPC with respect to the conversion rights set
10
      forth therein.
11
              134.     The conversion rights in the Transaction Documents are material to the entire
12
      purported transaction reflected in the Transaction Documents.
13
              135.     The Shareholders of SPPC had and continue to have existing preemptive
14                                                                                                      '·
      shareholder rights with respect to the issuance of shares in SPPC.
15
              136.     Upon information and belief, the Transaction Documents were executed without
16
      compliance with statutory and corporate formalities, including, but not limited to, the
17
      procurement of the consent of the Board of Directors and the consent of the Shareholders of
18
      SPPC.
19
              137.     Upon information and belief, the Transaction Documents were executed without a
20.
      waiver by the Shareholders of SPPC of its existing preell].ptive rights.
21
              138.     The Court should issue a declaratory judgment that the loan transaction is ultra
22
      vires, void, canceled, and/or unenforceable, and, issue injunctive relief consistent therewith.
23

24
                       SEVENTH COUNT: LACK OF PRESENTMENT AND SURRENDER
25
              139.     SPPC realleges the allegations contained in paragraphs 1 through 138 as if fully
26
      stated herein.
27
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             140.   The Transaction Documents provided that an Event of Default occurs when a

2    default is made for more than fourteen (14) days in the payment of principal or interest "when and

3    as the same ought to be paid in accordance with these Conditions .... " See Convertible Bonds,

4    Schedule 2, Terms and Conditions, at ~9.

5            141.   As an express condition to payment, the Transaction Documents provided that

 6   payments of principal "will be made only against presentation and surrender of the Bonds at the

 7   specified office of the Company .... "        See Convertible Bonds, Schedule 2, Terms and

 8   Conditions, at ~6 (A) (emphasis added).

 9           142.   The Transaction Documents further provided that the Bondholders "will not be

10   entitled to any payment of principal for any delay after the due date ... if the Bondholder is late

11   in surrendering its Bonds .... " See Convertible Bonds, Schedule 2, Terms and Conditions, at ~6

12   (E).

13           143.   Soh, Yoongki and Chang did not, and to date have not, made any presentation or

14   surrender of the Bonds to SPPC.

15           144.   Pursuant to the express terms of the Transaction Documents, Soh, Yoongki and

16   Chang are not entitled to the payment of any· alleged principal without a presentation and

17   surrender of the Bonds, which to date has not occurred.

18           145.   Pursuant to the express terms of the Transaction Documents, Soh, Yoongki and

19   Chang have delayed in the presentation and surrender of the Bonds for more than five (5) years,

20   and counting, and are not entitled to any payment as a result of such delay, whether such delay is

21   intentional or otherwise.

22           146.   Pursuant to the express terms of the Transaction Documents, there is no default

23   under the Transaction Documents by SPPC with respect to the payment of principal until Soh,

24   Yoongki and Chang present and surrender the Bonds, and the applicable time period passes

25   without payment, subject to such other defenses SPPC may have with respect to such payment.

26           147.   The Court should issue a declaratory judgment that pursuant to the express terms

27   of the Transaction Documents, the presentation and surrender of the Bonds are a condition

28

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1    precedent necessary and required for the payment of principal under the Bonds; and that due to

2    the lack of such presentation and surrender, to date, there is no event of default by SPPC with

3    respect to the payment of principal under the Bonds.

4

5                                              EIGHTH COUNT: FRAUD

 6           148.     SPPC realleges the allegations contained in paragraphs 1 through 147 as if fully

 7   stated herein.

 8           149.     Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo, Choi, Lee,

 9   Shin and WJ, DOES 1-100, and others, individually and collectively, directly, and/or through

10   their respective agents, caused to be drafted and executed the Transaction Documents for the

11   purported loan of $3,000,000.00 to SPPC, contain materially false representations, and with the

12   full knowledge that the loan proceeds would be paid to MBG and/or Paradise LP for their sole

13   benefit and use.

14           150.     The Transaction Documents were, as has been alleged, made under false and

15    fraudulent pretenses; were the product of fraudulent concealment and the fraudulent

16    misrepresentation of material facts; were committed using fraudulent and false corporate actions;

17    and, are part ofthe fraudulent loan scheme.

18           151.     The procedural circumstances, as has been alleged, and the substantive content of

19    the Transaction Documents, were reasonably calculated to deceive, to make it appear as though

20    SPPC was the recipient of the loan proceeds, and had agreed to, executed, approved, ratified, and

21    authorized the execution of the Loan Transactions, to bind SPPC.

22           152.     The Transaction Documents contain materially false representations.

23           153.     Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo, Choi, Lee,

24    Shin and WJ, DOES 1-100, and others, individually and collectively, directly, and/or through

25    their respective agents, intended to deceive SPPC and others as alleged.

26           154.     Based upon the procedural and substantive fraud, Soh and Yoongki have

27   . individually and collectively fraudulently sought, through the Korea Lawsuit, to enforce the

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1    Transaction Documents against SPPC, demanding from SPPC payment m excess of

2    $3,000,000.00.

3           155.      By their procedural and substantive fraud, Soh, Yoongki, Chang, MGB, Paradise

4    LP, Suhr, Hahm, GT, Dalalo, Choi, Lee, Shin and WJ, DOES 1-100, and others, individually and

5    collectively, directly, and/or through their respective agents, perpetrated fraud against SPPC,

6    causing SPPC to be exposed to liability in excess of $3,000,000.00, in addition to other damages

7    suffered by SPPC.

 8           156.     The misconduct of Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT,

 9   Dalalo, Choi, Lee, Shin and WJ, DOES 1-100, and others, individually and collectively, directly,

10   and/or through their respective agents was malicious, fraudulent, oppressive, and intended to

11   injure SPPC, entitling SPPC to punitive damages.

12

13                       NINTH COUNT: CONSPIRACY TO COMMIT FRAUD

14           157.     SPPC realleges the allegations contained in paragraphs 1 through 156 as if fully

15   stated herein.

16           158.     Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo, Choi, Lee,

17   Shin and WJ, DOES 1-100, and others, individually and collectively, directly, and/or through

18   their respective agents, agreed to and acted in concert with each other or pursuant to a common

19   design, to fraudulentiy and wrongfully procure ·the loan transaction from SPPC, to misappropriate

20   SPPC's assets, to obtain money or property from SPPC; to defraud SPPC of its assets, in excess

21   of $3,000,000.00, through the materially false Transaction Documents, and the procedural and

22   substantive fraud committed, as alleged, which purport to bind SPPC.

23           159.     Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo, Choi, Lee,

24   Shin and WJ, DOES 1-100, and others, individually and collectively, directly, and/or through

25   their respective agents, knew that the other's conduct constituted a fraud , and gave substantial

26   assistance or encouragement to the other to perpetrate the fraud.

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1                     TENTH COUNT: BREACH OF FIDUCIARY DUTY (SUHR)

2            160.     SPPC realleges the allegations contained in paragraphs 1 through 159 as if fully

3    stated herein.

4            161.     At all relevant times herein Suhr was an officer and director of SPPC.

5            162.     Throughout the commission of the fraudulent loan scheme, Suhr owed fiduciary

6    duties to SPPC and to its shareholders.

7            163.     As an officer and director of SPPC, Suhr owed fiduciary duties to SPPC and to its

 8   shareholders, including inter alia, undivided loyalty, due care, good faith, candor, and fair

 9   dealing, and restraint from abuse of his position at SPPC and from self-dealing.

10           164.     Suhr breached his fiduciary duties to SPPC and its shareholders as has been

11   alleged, and by wrongfully attempting to bind SPPC to the Transaction Documents.

12           165.     The fraudulent loan scheme benefitted Suhr personally, unjustly enriched Suhr,

13   and harmed SPPC and its shareholders.

14           166.     Suhr is liable to SPPC in amounts subject to proof at trial.

15                     ELEVENTH COUNT: BREACH OF FIDUCIARY DUTY (HAHM)

16           167.     SPPC realleges the allegations contained in paragraphs 1 through 166 as if fully

17   stated herein.

18           168.     At all relevant times herein Michael S. Hahm was an officer and director of SPPC.

19           169.     Throughout the commission of the fraudulent loan scheme Hahm owed fiduciary

20   duties to SPPC and to its shareholders.

21           170.     As an officer and director of SPPC, Hahm owed fiduciary duties to SPPC and to

22   its shareholders, including inter alia, undivided loyalty, due care, good faith, candor, and fair

23   dealing, and restraint from abuse of his position at SPPC and from self-dealing.

24           171.     Hahm breached his fiduciary duties to SPPC and its shareholders as has been
25   alleged, and by wrongfully attempting to bind SPPC to the Transaction Documents.

26           172.     The fraudulent loan scheme benefitted Hahm personally, unjustly enriched Hahm,

27   and harmed SPPC and its shareholders.
28

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  1           173.      Hahm is liable to SPPC in amounts subject to proof at trial.

  2

  3                   TWELTH COUNT: BREACH OF FIDUCIARY DUTY: (GT KIM)

  4            174.     SPPC realleges the allegations contained in paragraphs 1 through 173 as if fully

  5    stated herein.

  6            175.     At all relevant times herein GT was an officer and/or director of SPPC.

  7            176.     Throughout the commission of the fraudulent loan scheme, GT owed fiduciary

  8    duties to SPPC and to its shareholders.

  9            177.     As an officer and director of SPPC, GT owed fiduciary duties to SPPC and to its

 10    shareholders, including inter alia, undivided loyalty, due care, good faith, candor, and fair

 11    dealing, and restraint from abuse of his position at SPPC and from self-dealing.

 12            178.     GT breached his fiduciary duties to SPPC and its shareholders as has been alleged,

 13    and by wrongfully attempting to bind SPPC to the Transaction Documents.

· 14           179.     The fraudulent loan scheme benefitted GT personally, unjustly enriched GT, and

 15    harmed SPPC and its shareholders.

 16            180.     GT is liable to SPPC in amounts subject. to proof at trial.

 17

 18              THIRTEENTH COUNT: BREACH OF FIDUCIARY DUTY: (DALALO)

 19            181.     SPPC realleges the allegations contained in paragraphs 1 through 180 as if fully

 20    stated herein.

 21            182.     At all relevant times herein Dalalo was the Comptroller and Secretary of SPPC.

 22            183.     Throughout the commission of the fraudulent loan scheme, Dalalo owed fiduciary

 23    duties to SPPC and to its shareholders.

 24            184.     As the Comptroller and Secretary of SPPC, Dalalo owed fiduciary duties to SPPC

 25    and to its shareholders, including inter alia, undivided loyalty, due care, good faith, candor, and

 26    fair dealing, and restraint from abuse of his position at SPPC and from self-dealing.

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 1          185.      Dalalo breached his fiduciary duties to SPPC and its shareholders as has· been

2    alleged, and by wrongfully attempting to bind SPPC to the Transaction Documents.

3            186.     The fraudulent loan scheme benefitted Dalalo personally, unjustly enriched Dalalo,

4    and harmed SPPC and its shareholders.

5            187.     Dalalo is liable to SPPC in amounts subject to proof at trial.

 6

 7           FOURTEENTH COUNT: BREACH OF FIDUCIARY DUTY: (DOES 1-100)

 8           188.     SPPC realleges the allegations contained in paragraphs 1 through 187 as if fully

 9   stated herein.

10           189.     At all relevant times herein DOES 1-100 were officers, directors, or other persons

11   or entities standing in a fiduciary relationship with SPPC.

12           190.     Throughout the commission of the fraudulent loan scheme, DOES 1-100 owed

13   fiduciary duties to SPPC and to its shareholders.

14           191.     As officers, directors and/or fiduciaries of SPPC, DOES 1-100 owed fiduciary

15   duties to SPPC and to its shareholders, including inter alia, undivided loyalty, due care, good

16   faith, candor, fair dealing, and restraint from abuse of his position at SPPC and from self-dealing.

17           192.     DOES 1-100 breached their fiduciary duties to SPPC and its shareholders as has

18   been alleged, and by wrongfully attempting to bind SPPC to Transaction Documents.

19           193.     The fraudulent loan scheme benefitted DOES 1-100 personally, unjustly enriched,

20   DOES 1-100, and harmed SPPC and its shareholders.

21           194.     DOES 1-100 are liable to SPPC in amounts subject to proof at trial.

22
                      FIFTEENTH COUNT: PARTICIPATION IN OR AIDING AND
23                        ABETTING THE BREACH OF A FIDUCIARY DUTY
24           195.     SPPC realleges the allegations contained in paragraphs 1 through 194 as if fully

25   stated herein.

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 1          196.      Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and

2    DOES 1-100 each had knowledge that Suhr, Hahm, GT, Dalalo and DOES 1-100 owed fiduciary

3    duties to SPPC and its shareholders.

4           197.      Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and

5    DOES 1-100 each entered into a conspiracy pursuant to which Suhr, Hahm; GT, Dalalo and

 6   DOES 1-100 unlawfully and in bad faith agreed to breach their fiduciary duties in an attempt to

 7   bind SPPC to the Transaction Documents.

 8          198.      Additionally and/or alternatively, Soh, Yoongki, Chang, MGB, Paradise LP, Suhr,

 9   Hahm, GT, Dalalo and WJ, and DOES 1-100 each agreed to cause SPPC to be bound to the

10   Transaction Documents, using Suhr, Hahm, GT, Dalalo and DOES 1-lOO's breaches of their

11   fiduciary duties as their unlawful means.

12           199.     Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and

13   DOES 1-100 acted in concert with each other or pursuant to a common design.

14          200.      Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and

15   DOES 1-100 gave substantial assistance or encouragement to Suhr, Hahm, GT, Dalalo and DOES

16   1-100 to breach their respective fiduciary duties to SPPC and its shareholders.

17          · 201.    The Transaction Documents benefitted personally and unjustly enriched Soh,

18   Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and DOES 1-100, and

19   harmed SPPC and its shareholders.

20           202.     Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT; Dalalo and WJ, and

21   DOES 1-100 are liable to SPPC in amounts subject to proof at trial.

22

23                          SIXTEENTH COUNT: RICO [18 U.S.C. § 1962(a)]

24           203.     SPPC realleges the allegations contained in paragraphs 1 through 202 as if fully

25   stated herein.

26           204.     SPPC is a person within the meaning of that term in 18 U.S.C. § 1961(3).

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  1              205.   Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and

  2    DOES 1-100 are persons within the meaning of that term in 18 U.S.C. § 1961(3).

  3              206.   Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and

  4    DOES 1-100 collectively constituted an enterprise within the meaning of that term in 18 U.S.C. §

  5    1961(4), and each of them individually was associated with the enterprise, which was engaged in,

  6    or the activities of which affected, interstate or foreign commerce.
  7              207.   In violation of 18 U.S.C. § 1962(a), Soh, Yoongki, Chang, MGB, Paradise LP,

  8    Suhr, Hahm, GT, Dalalo and WJ, and DOES 1-100 used income received and derived, directly

  9    and indirectly, from a pattern of racketeering activity as that term is defined in 18 U.S.C. §

 10    1961 (5), or through the collection of an unlawful debt, as principals, to use or invest, directly or

 11    indirectly, any part of such income, or the proceeds of such income, in acquisition of an interest

· 12   in or the establishment of or operation of an enterprise engaged in, or the activities of which,

 13    affect interstate or foreign commerce, involving multiple predicate acts of fraud in violation of 18

 14    U.S.C. Chapter 63, including but not limited to the following: devising a scheme or artifice to

 15    defraud SPPC, to fraudulently and wrongfully procure the loan directly from· SPPC, to

 16    misappropriate SPPC's assets, and/or to obtain money or property from SPPC, through the

 17    fraudulent loan scheme, by false or fraudulent pretenses, -using the mail, wire, telephone,

 18    facsimile, internet, e mails and letters, in interstate and foreign commerce, between Guam, Korea,

 19    the United States and elsewhere.

 20              208.   SPPC has been injured in its business and property by reason of Soh, Yoongki,

 21    Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and DOES 1-lOO's violations of 18
 22    U.S.C. § 1962(a).

 23              209.   As a direct and proximate result of Soh, Yoongki, Chang, MGB, Paradise LP,

 24    Suhr, Hahm, GT, Dalalo and· WJ, and DOES 1-lOO's violations of 18 U.S.C. § 1962(a), SPPC has
 25    been injured in its business and property and has suffered damages in amounts subject to proof at
 26    trial.

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 1             210.   SPPC is entitled to recover attorneys' fees and treble damages pursuant to

2    18 U.S.C. § 1964(c).

3

4                         SEVENTEENTH COUNT: RICO [18 U.S.C. § 1964(b)]

5              211.   SPPC realleges the allegations contained in paragraphs 1 through 210 as if fully

6    stated herein.

 7             212.   In violation of 18 U.S.C. § 1962(b), Soh, Yoongki, Chang, MGB, Paradise LP,

 8   Slihr, Hahm, GT, Dalalo and WJ, and DOES 1-100 through a pattern of racketeering activity as

 9   that term is defined in 18 U.S.C. § 1961(5), or through the collection of an unlawful debt,

10   involving multiple predicate acts of fraud in violation of 18 U .S.C. Chapter 63, acquired or

11   maintained, directly or indirectly, an interest in or control of an enterprise as that term is defined

12   in 18 U.S.C. § 1961 (4), which is engaged in, or the activities of which affect, interstate or foreign

13   commerce. Such fraudulent acts include but are not limited to the following: devising a scheme

14   or artifice to defraud SPPC, to fraudulently and wrongfully procure the loan from SPPC, to

15   misappropriate SPPC's assets, and/or to obtain money or property from SPPC, through the

16   fraudulent loan scheme, by false or fraudulent pretenses, using the mail, wire, telephone,

17   facsimile, internet, e mails and letters, in interstate and foreign commerce, between Guam, Korea,

18   the United States and elsewhere.

19             213.   SPPC has been injured in its business and property by reason of Soh, Yoongki,

20   Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and DOES 1-lOO's violations of
21   18   u.s.c. § 1962(b).
22             214.   As a direct and proximate result of Soh, Yoongki, Chang, MGB, Paradise LP,

23   Suhr, Hahm, GT, Dalalo and WJ, and DOES 1-lOO's violations of 18 U.S.C. § 1962(b), SPPC has

24   been injured in its business and property and has suffered damages in amounts subject to proof at
25   trial.

26             215.   SPPC is entitled to recover attorneys' fees and treble damages pursuant to 18
27   U.S.C. § 1964(c).
28

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 2                         EIGHTTEENTH COUNT: RICO [18 U.S.C. 1964(c)]

 3             216.   SPPC realleges the allegations contained in paragraphs 1 through 215 as if fully

 4   stated herein.

 5             217.   Sob, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and

 6   DOES 1-100 were employed by or associated with the enterprise and, in violation of 18 U.S.C. §

 7   1962( c), conducted or participated, directly or indirectly, in the conduct of the affairs of the

 8   enterprise through a pattern of racketeering activity within the meaning of 18 U.S.C. § 1961(5),

 9   involving multiple predicate acts of fraud in violation of 18 U.S.C. Chapter 63, including but not

10   limited to the following: devising a scheme or artifice to defraud SPPC, to fraudulently and

11   wrongfully procure the loan from SPPC, to misappropriate SPPC's assets, and/or to obtain money

12   or property from SPPC, through the fraudulent loan scheme, by false or fraudulent pretenses,

13   using the mail, wire, telephone, facsimile, internet, e mails and letters, in interstate and foreign

14   commerce, between Guam, Korea, the United States and elsewhere.

15             218. . SPPC has been injured in its business and property by reason of Sob, Yoongki,

16   Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and DOES 1-lOO's violations of

17   18 U.S.C. § 1962(c).

18             219.   As a direct and proximate result of Sob, Yoongki, Chang, MGB, Paradise LP,

19   Suhr, Hahm, GT, Dalalo and WJ, and DOES 1-lOO's violations of 18 U.S.C. § 1962(c), SPPC has

20   been injured in its business and property and has suffered damages in amounts subject to proof at

21   trial.

22             220.   SPPC is entitled to recover attorneys' fees and treble damages pursuant to
23   18 U.S.C. §1964(c).

24

25                          NINETEENTH COUNT: RICO [18 U.S.C. 1962(d)]

26             221.   SPPC realleges the allegations contained in paragraphs 1 through 220 as if fully
27   stated herein.

28

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               222.   In violation of 18 U.S.C. § 1962(d), Soh, Yoongki, Chang, MGB, Paradise LP,

2    Suhr, Hahm, GT, Dalalo and WJ, and DOES 1-100 conspired to violate the provisions of 18

3    U.S.C. § 1962(a), (b), and (c).

4              223.   Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and

 5   DOES 1-100 knowingly agreed and conspired together to aid, abet, participate in, or commit

 6   breaches of fiduciary duty and defraud SPPC, and to commit or assist in the commission of at

 7   least two predicate acts with the knowledge and intent that such acts were in furtherance of the

 8   scheme to defraud, including but not limited to the following: devising a scheme or artifice to

 9   defraud SPPC, to fraudulently and wrongfully procure the loan from SPPC, to misappropriate

10   SPPC's assets, and/or to obtain money or property from SPPC, through the fraudulent loan

11   scheme, by false or fraudulent pretenses, using the mail, wire, telephone, facsimile, internet, e

12   mails and letters, in interstate and foreign commerce, between Guam, South Korea, the United

13   States and elsewhere.

14             224.   SPPC has been injured in its business and property by reason of Soh, Yoongki,

15   Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and DOES 1-lOO's violations of·

16   18 U.S.C. § 1962(d).

17             225.   As a direct and proximate result of Soh, Yoongki, Chang, MGB, Paradise LP,

18   Suhr, Hahm, GT, Dalalo and WJ, and DOES 1-lOO's violations of 18 U.S.C. § 1962(d), SPPC has

19   been injured in its business and property and has suffered damages in amounts subject to proof at

20   trial.

21             226.   SPPC is entitled to recover attorneys' fees and treble damages pursuant to

22   18 U.S.C. § 1964(c).

23

24                            TWENTIETH COUNT: CIVIL CONSPIRACY
25             227.   SPPC realleges the allegations contained in paragraphs 1 through 226 and 232

26   through 220 as if fully stated herein.

27

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 1          228.      Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and

2    DOES 1-100 knowingly agreed and conspired together to aid, abet, participate in, or commit

3    breaches of fiduciary duty and to defraud SPPC, through a series of fraudulent loan schemes, in

4    furtherance of the scheme to defraud.

 5          229.      Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and

 6   DOES 1-100 are jointly and severally liable for the tortuous and unlawful acts, including not only

 7   the acts of those who committed the acts themselves, but also those who planned, furthered by

 8   cooperation, lent aid to, or encouraged the acts.

 9          230.      Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and

10   DOES 1-100 are jointly and severally liable for all damages resulting from the acts in amounts

11   subject to proof.

12          231.      SPPC is entitled to recovery punitive and exemplary damages from Soh, Y oongki,

13   Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and DOES 1-100 for their willful,

14   malicious, fraudulent, and oppressive acts.

15

16                              TWENTY-FIRST COUNT: ILLEGALITY

17          232.      SPPC realleges the allegations contained in paragraphs l through 231 as if fully

18   stated herein.

19           233.     As alleged, the purported loan transaction is illegal on grounds which include but

20   are not limited to inter alia: (a) Soh, Yoongki and Chang have violated Guam laws pertaining to

21   business licenses; (b) Y oongki violated Guam laws pertaining to foreign corporations; (c) Soh,

22   Yoongki and Chang have violated Guam laws pertaining to contracts; (d) Soh, Y oongki, Chang,

23   MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and DOES 1-100 have: (i) perpetrated fraud

24   against SPPC; (ii) have breached or have aided, abetted, or participated in the breach of fiduci~y

25   duties against SPPC; and, (iii) have violated civil RICO laws.

26           234.     The purported Transaction Documents constitute illegal contracts and are void

27   and/or unenforceable.

28

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 1            235.     The Court should issue a declaratory judgment that the Transaction Documents are

2     illegal, void, and/or unenforceable, and, issue injunctive relief consistent therewith.

3

4         TWENTY-SECOND COUNT: TORTIOUS INTERFERENCE WITH CONTRACT

 5            236.     SPPC realleges the allegations contained in paragraphs 1 through 235 as if fully

 6.   stated herein.

 7            23 7.    Pursuant to its Outstanding Loan SPPC had a valid contract with Hanmi Bank.

 8    Pursuant to the Outstanding Loan, SPPC was bound by loan covenants, including a covenant that

 9    SPPC refrain from assuming any further indebtedness or liability.

10            238.     Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT, Dalalo and WJ, and

11    DOES 1-100, and others had actual or constructive knowledge and/or knew or should have

12    known of the existence of the Outstanding Loan, including its terms and covenants.

13            239.     In perpetrating the fraudulent loan scheme, including specifically attempting to

14    bind SPPC to the Transaction Documents, Soh, Yoongki, Chang, MGB, Paradise LP, Suhr,

15    Hahm, GT, Dalalo and WJ, and DOES 1-100, and others, disrupted, interfered with, and/or

16    caused a breach of the Outstanding Loan, by causing SPPC to breach the covenant that it refrain

17    from assuming any further indebtedness or liability.

18            240.     As a result of the tortious interference with contract as above alleged, SPPC has

19    incurred damages in amounts subject to proof at trial.

20
           TWENTY-THIRD COUNT: THE PURPORTED LOAN TRANSACTION IS THE
21               RESULT OF ABUSES OF REPRESENTATIVE CAPA CITY
22            241.     SPPC realleges the allegations contained in paragraphs 1 through 240 as if fully

23    stated herein.

24            242.     As alleged, at all relevant times herein, Suhr, Hahm, GT, Dalalo and others

25    purported to act in their representative capacities at SPPC throughout their commission of the

26    fraudulent loan scheme, which was intended to benefit themselves or others to the detriment of
27    SPPC.

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                                                                     ·~

            243.    Soh, Yoongki, Chang, MGB, Paradise LP, WJ, DOES 1-100 and others had actual

2    or constructive knowledge and/or knew or should have known that Suhr, Hahm, GT, Dalalo and

3    others were abusing· their purported representative capacities at SPPC in attempting to bind SPPC

4    to the fraudulent loan scheme.

 5          244.    Under South Korean law, when there has been an abuse of representative capacity

6    as alleged and occurred here, the loan transaction is null, void, and/or unenforceable.

 7          245.    Alternatively, under Guam, federal, and/or applicable law, the abuse of

 8   representative capacity constitutes a breach of fiduciary duty by Suhr, Hahm, GT, Dalalo, DOES

 9   1-100, and others.

10          246.    Soh, Yoongki, Chang, MGB, Paradise LP, WJ, DOES 1-100, and others, aided and

11   abetted, and/or participated in the abuse of representative capacity and/or the breaches of

12   fiduciary duties.

13          ~47.    SPPC is has suffered damages in amounts subject to proof at trial.

14          248.    The conduct of Soh, Yoongki, Chang, MGB, Paradise LP, Suhr, Hahm, GT,

15   Dalalo and WJ, and DOES 1-100, and others was intentional, malicious, and oppressive entitling

16   SPPC to punitive damages.

17           249.    Additionally and/or alternatively, the Court should declare that the Transaction

18   Documents are null, void, and/or unenforceable, and issue injunctive relief consistent therewith.

19

20                                    . DEMAND FOR JURY TRIAL

21           SPPC demands a jury trial of all issues triable ofright by jury.

22

23                                                PRAYER

24           WHEREFORE, SPPC prays for judgment against Soh, Yoongki, Chang, MGB, Paradise
25   LP, Suhr, Hahm, GT, Dalalo and WJ, and DOES 1-100,jointly and severally, as follows:

26           1.      For a declaration that the Transaction Documents are, as to SPPC, null and void, of
27   no effect and unenforceable, and should be set aside.
28

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              2.         For a permanent injunction prohibiting any further proceedings to enforce the
 2   Transaction Documents against SPPC.
              ...,
 3            .)     .   For an award of general, special, and consequential damages in amounts subject to
 4   proof.

 5            4.         For an award of punitive damages.
 6            5.         For an award of all applicable damages and remedies available under Civil RICO,
 7   18 U.S.C. § 1964.

 8            6.         For an award of SP PC's attorneys' fees.
 9            7.         For an award SPPC's of costs.
10            8.         For pre and post judgment interest.
11            9.         For such other further relief the Court may deem proper.
12            Dated this 6111 day ofNovember, 2015.
13

14                                             Respectfully Submitted,
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                                           VERIFICATION
2    Guam , U.S.A.           )
                                                   ) ss:
3    City of Hagatna         )

4
            Joan Hee Hahn , being first duly sworn and deposes under oath, as follows: that he is the
5
     duly authorized representative and President of South Pacific Petroleum Corporation, the
 6
7    Plaintiff in the above matter; that he verifies the above Verified Complaint and in so doing

 8   states that he has read the same and knows that the contents thereof to be true and correct, and

 9   except as to those matters which are therein stated in it on information or belief; and as to those
10
     matters, he believes it to be true.
11
                     Dated this ____G2_ day of November, ~
12
13

14
                                                  aPresident
                                                            Hahn
                                                   South Pacific Petroleum Corporation
15

16

17         SUBSCRIBED AND SWORN to before me on the day ru1d year first above wi·itten by
     Joan Hee Hahn .
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